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                    UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF VIRGINIA


DEBORAH MOGENSEN
AND KARL MOGENSEN,
        Plaintiffs,

v.                                                     6:23CV00077
                                              Case No. ____________

Michelle Welch , in her individual
                                              JURY TRIAL DEMANDED
capacity and in her official capacity
as the Senior Assistant Attorney
General of Virginia and
Director of the Animal Unit
             Defendant.
________________________________

     COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF AND
                TEMPORARY RESTRAINING ORDER

      Deborah and Karl Mogensen file this Complaint, using 42 U.S. Code § 1983

as a vehicle, against Defendant Michelle Welch, in her individual and official

capacities, for violating the due process rights at issue in this case. Mr. and Ms.

Mogensen request the following:

      1. This Court declare the ten day notice period unconstitutional under the
         facts surrounding this statute such as the requirement—to an adequate
         defense—of having a scientific, species expert regarding taken animals,
         the necessity for a competent legal team in the area of civil forfeiture an
         constitutional rights, and the need for discovery such a documentary
         evidence and depositions, inter alia—all of which cannot be
         accomplished in ten business day from a taking of agricultural and farm
         animals;



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      2. Grant a temporary restraining order against the Defendant from
         pursuing a civil forfeiture hearing until this Court rules on the issues
         before it;

      3. Declare unconstitutional the Defendant’s attempts at exercising control
         over Plaintiffs’ property through alleged animal action plan, which
         mandates that Defendant take certain action regarding Plaintiffs’
         animals which were not seized and are not subject to the requested
         forfeiture hearing; and

      4. Grant a temporary restraining order against the Defendant from
         exercising control over said animals through these action plans—
         regarding animals who were admittedly not seized and are not subject
         to the requested forfeiture hearing.


                               INTRODUCTION

      Defendant is trying to put Plaintiffs out of business, and Defendant’s

primary weapon to accomplish this task: violating Mr. and Mrs. Mogensen’s due

process rights. Coming on to Plaintiffs’ property with no less than seven alleged—

with emphasis on the word alleged—experts; taking approximately 95 of Plaintiffs

animals (including 4 giraffes worth about one million dollars), totaling at least

seventeen different species; and torturing and killing a prized white tiger through

complete incompetence—Defendant expects Plaintiffs to mount a defense to all of

this in 10 business days. That means Plaintiff would have to acquire multiple

experts; obtain a competent legal team; obtain necessary discovery, including the

taking of numerous depositions, including expert depositions of at least the



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alleged seven expert veterinarians who were used to justify taking the 17 different

species; and the legal and expert teams review of all discovery provided, inter alia.

For example, today, 12/11/2023 the undersigned was sent more than 1,500

documents with more to come throughout the week, presumably up to the day of

this 10-day hearing. Adequate preparation that respects due process regarding the

taking of property simply cannot be accomplished in ten business days.

      Significantly, and the following point is seriously significant: the civil

forfeiture hearing has severe criminal implications—of which Defendant readily

knows and admits to—because if the animals are taken under arguments of abuse,

neglect, or otherwise—those finds will play a vital role in determining criminal

charges against the Plaintiffs, who have not been charged criminally with any

offense as of this date.

      Additionally, Mr. and Mrs. Mogensen did not own two of the animals

seized by Defendant, and the proper owners of those two animals are only legally

entitled to five days’ notice to put up their innocent owner defense, which again

will acquire obtaining a legal team, along with relevant discovery and depositions.

      Having a legal battle over whether particular animals have been abused is

not problem; the problem is that the Defendant is using an unconstitutional law to

practically ensure Plaintiffs’ inadequate defense to its attempt at taking alleged



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paid for property, agricultural and zoo animals, inter alia. We are talking about

the government taking of property, government takins that comes with correlated

constitutional protections from abuse.

                                          1.

                         JURISDICTION AND VENUE

                                          2.

      Jurisdiction of this Court is based on federal question jurisdiction. Venue is

proper under 28 U.S.C. § 1391(b) because a substantial part of the events and

omissions giving rise to claims occurred within this District and Division and

Defendants reside and transact business in this District and Division.

                                     PARTIES

                                          3.

      Plaintiffs, Mr. and Mrs. Mogensen, at all times relevant were residents and

citizens of Virginia, and submits to the jurisdiction of this Court. Mr. and Mrs.

Mogensen have owned and operated Natural Bridge Zoo since 1972; Natural

Bridge Zoo is located at 5784, 5746, 5742, 5826 S. Lee Highway, Natural Bridge,

Virginia, 24578-3545. (See Ex. 1, for search warrant.)

                                          4.




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      Mr. and Mrs. Mogensen are the owners of the majority—but not all—of the

animals taken by Defendant during a search and eventually seizure of property,

property that totaled approximately 95 animals. (See Exhibit 1.) A notice of civil

forfeiture hearing was served on Mr. and Mrs. Mogensen, requesting a civil

forfeiture hearing on December 20, 2023. (See Ex. 2.)

                                         5.

      Defendant Michele Welch the Senior Assistant Attorney General of Virginia

and Director of the Animal Unit. Ms. Welch planned, ordered, and condoned—as

the Director of the Animal Law Unit—the search of Plaintiffs’ property and seizure

of Plaintiffs’ animals, along with the seizure of animals located on Plaintiffs’

property but who were not owned by Plainitff—some of the animals had different

owners and will make claim to those animals through the proper procedure. Ms.

Welch was present at the property during the seizure, directing law enforcement

and other agents with respect to the animals seized.

                         ISSUES BEFORE THE COURT

                                         6.

      This action challenges the constitutionality of Va. Code Ann. § 3.2-6569 (C)

which states




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      “Upon seizing or impounding an animal, the humane investigator, law-
      enforcement officer or animal control officer shall petition the general
      district court in the city or county where the animal is seized for a hearing.
      The hearing shall be not more than 10 business days from the date of the
      seizure of the animal. The hearing shall be to determine whether the animal
      has been abandoned, has been cruelly treated, or has not been provided
      adequate care.”


                                         7.

      Va. Code Ann. § 3.2-6569 (C) is unconstitutional because it violates the due

process rights of Mr. and Mrs. Mogensen to an adequate opportunity to mount an

adequate defense to the taking of their animals. For example, in this case, 95

animals were taken from the Plaintiffs. Many of those 94 animals were taken to

different locations. In the process of taking those 95 animals, the Defendant has,

allegedly, seven veterinarian experts on location, and that means there is a

potential for all seven of those experts to testify at the 10-day civil forfeiture

hearing.

                                         8.

      Furthermore, the subject civil forfeiture hearing has severe criminal

implications because, if any animal is taken under the charge of abuse, neglect, or

otherwise, that basis will also be used to determine criminal charges against




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Mr. and Mrs. Mogensen. As of now, there are no criminal charges, those charges

typically come after the forfeiture hearing.

                                          9.

      Additionally, the civil forfeiture hearing requires innocent owners to mount

a defense with many times just five days’ notice. Specifically, the statue reads:

      The humane investigator, law-enforcement officer, or animal control officer
      shall cause to be served upon the person with a right of property in the
      animal or the custodian of the animal notice of the hearing. If such person
      or the custodian is known and residing within the jurisdiction wherein the
      animal is seized, written notice shall be given at least five days prior to the
      hearing of the time and place of the hearing. If such person or the custodian
      is known but residing out of the jurisdiction where such animal is seized,
      written notice by any method or service of process as is provided by the
      Code of Virginia shall be given. If such person or the custodian is not
      known, the humane investigator, law-enforcement officer, or animal control
      officer shall cause to be published in a newspaper of general circulation in
      the jurisdiction wherein such animal is seized notice of the hearing at least
      one time prior to the hearing and shall further cause notice of the hearing to
      be posted at least five days prior to the hearing at the place provided for
      public notices at the city hall or courthouse wherein such hearing shall be
      held…

      If the court determines that the animal has been neither abandoned, cruelly
      treated, nor deprived of adequate care, the animal shall be returned to the
      owner. If the court determines that the animal has been (i) abandoned or
      cruelly treated, (ii) deprived of adequate care, as that term is defined in § 3.2-
      6500, or (iii) raised as a dog that has been, is, or is intended to be used in
      dogfighting in violation of § 3.2-6571, then the court shall order that the
      animal may be: (a) sold by a local governing body, if not a companion
      animal; (b) disposed of by a local governing body pursuant to subsection D
      of § 3.2-6546, whether such animal is a companion animal or an agricultural




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      animal; or (c) delivered to the person with a right of property in the animal
      as provided in subsection G…

      In no case shall the owner be allowed to purchase, adopt, or otherwise
      obtain the animal if the court determines that the animal has been
      abandoned, cruelly treated, or deprived of adequate care. The court shall
      direct that the animal be delivered to the person with a right of property
      in the animal, upon his request, if the court finds that the abandonment,
      cruel treatment, or deprivation of adequate care is not attributable to the
      actions or inactions of such person.

                          FACTUAL ALLEGATIONS

                                         10.

      On or about December 6-7, 2023, Defendant supervised a search of Plaintiffs’

Natural Bridge Zoo, and during that period, Defendant ordered and condoned the

taking of approximately 95 animals from the zoo.

                                         11.

      During the search and seizure, Defendant had approximately seven alleged

“veterinarian experts” present assessing the zoo animals; all seven of these

veterinarians may testify at said requested civil forfeiture hearing. Each of these

alleged veterinarian “experts” presumable have notes and possibly reports related

to the approximately 95 taken animals.

                                         12.

      The approximately 95 taken animals were separated after being taken and




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thus are currently being held at different locations based on information and belief.

                                             13.

      During the seizure, a white tiger, owned by Plaintiffs, was killed, with the

Defendant’s so called expert veterinarians claiming that Plaintiffs treatment of the

animal warranted said killing; but according to Plaintiffs, Defendant’s ineptness

led   to   the     torture   and   killing    of   said   white   tiger.   (See     Ex.   4,

https://m.youtube.com/watch?si=1Mm2vAadNeGcYHkb&fbclid=IwAR2j9WnYiiVQVZM

-ZU_8jJ8d44zpCHwb908tFIgp_0ROXLO4FuH-

WywnUvw&v=PY_RCE26LaQ&feature=youtu.be “Raw Interview: Natural Bridge Zoo

owner’s daughter, Gretchen Mogensen, talk with WSLS.” )

                                             14.

      On or about December 8, 2023, Defendant served notice of its request to hold

a civil forfeiture hearing on December 20, 2023 pursuant to Va. Code Ann. § 3.2-

6569 See Ex. 2.)

                                             15.

      The hearing only provides 10 business days to prepare do the following:

             1. Request and acquire relevant discovery;

             2. Acquire experts for the various animals at issue because different

                 species require different experts, and Defendant took more than 15



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                 species of animals;

              3. Provide each expert sufficient time to examine the evidence, including

                 on-site visits to the animals for independent examination;

              4. Provide each expert with sufficient time to actually write a report;

              5. Permit Plaintiffs sufficn3int time to acquire a legal team;

              6. Sufficient time for the legal team to talk to experts, gather

                 witnesses, and prep witnesses; and

              7. Sufficient time to depose witnesses, so the civil forfeiture hearing

                 is not trial by ambush

  That’s just some of the time-consuming issues that Defendant wants addressed in

  only ten days. Civil Plaintiffs’ attorneys are given months to find experts and

  generate reports, in cases that don’t involve multiple experts for over species, and

  in cases in which the outcome can have severe criminal implications.

                                           16.

       Moreover, owners who have nothing to do with the alleged abuse of their

  animals, are only required to have five days’ notice of the civil forfeiture to mount

  their defense, a defense that again will require multiple experts and scientific

  evidence, along with finding experienced representative counsel—all of which

  carries with it significant time to assess evidence, coordinate schedules, and



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  mount a legitimate defense.

                                              17.

       In this case, a taken lemur and one of the four giraffes are not owned by the

  Plaintiffs at the time they were seized; the actual owners have been notified by

  counsel and intend on making a claim against the seizure, pursuant to relevant

  statutes, to regain possession of their seized animals.

                                              18.

       Defendant gave the Plaintiffs “Action Plans,” attempting to mandate

  particular steps toward the care of approximately 15 different type of animals; the

  actions state the following, inter alia:

              “This action plan has been provided to the primary custodian for
              these animals. Failure to follow this plan or any written plan provided
              by a veterinarian utilized by the custodian should be viewed as a
              willful act. Animal Control Officers should closely monitor Natural
              Bridge Zoo to ensure compliance with these requirements and the
              custodian is hereby notified that further action may be taken against
              him if these improvements are not made promptly.”

  (See Ex. 3.) These Actions Plans, mandating certain steps towards the care of

  certain property (animals) relate to property (animals) that Defendant did not

  seize and are not subject to the forfeiture hearing that Defendant is pursuing.




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                                      COUNT I

 42 U.S. CODE § 1983 VIOLATION OF DUE PROCESS PURSUANT TO THE
    14TH AMENDMENT OF THE U.S. CONSTITUTION: REQUEST FOR
 DECLARATORY AND INJUNCITVE RELIEF, INCLUDING A TEMPORARY
                        RESTRAINING ORDER
                          (Against Defendants)

                                           19.

        The allegations of the above paragraphs 1-18 are re-alleged and

 incorporated by reference as if fully set forth herein.

                                          20.

        Based on the incorporated facts above, holding a civil forfeiture hearing

 within ten days of taking said animals violated the due process rights of Plaintiffs’.

 The Defendant is essentially trying to put Plaintiffs out of business without due

 process. The Injunctive relief has nothing to do with money and the harm to

 Plaintiffs is ongoing. Plaintiffs’ request this Court declare the specific provision

 unconstitutional and issue a temporary restraining order regarding the requested

 December 20, 2023 civil forfeiture hearing, until this Court rules on the issues

 before it.

                                           21.




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       Further, Plaintiffs request that this Court declare that the Action Plans are

 unconstitutional and void as unlawful because the government is trying to

 exercise unlawful control over animals it does not have control over. By infringing

 on the ownership’s rights of the Plaintiffs regarding these animals, the government

 is essentially exercising the taking of these animals, without due process. These

 animals have not been seized and are not subject to Defendant’s requested

 forfeiture hearing. (See Ex. 3, from copy of “Action Plans”.)


                               PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request:

       (a) Order summons to be issued for service of process upon all Defendants;

       (b) Order that a jury determine all issues not settled by this Court;

       (c) Declare that Va. Code Ann. § 3.2-6569 violates Plaintiffs’ rights under the

          Fourteenth Amendment to the United States Constitution;

       (d) Declare Defendants Actions plan void as an unconstitutional

          taking/seizure over property that Defendants admits has not been

          seized, is not subject to Defendants requested seizure, and is not subject

          to any criminal or civil penalties;




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       (e) Order Defendants to pay all reasonable costs and attorney’s fees

          pursuant to 42 U.S.C. § 1988, to Plaintiffs;

       (f) That Plaintiffs receive such other and further relief as the Court deems

          just and proper.


       Respectfully submitted this 11th day of December 2023,

                                                   /s/ Mario B. Williams
                                                   Mario B. Williams
                                                   Va. Bar No. 91955




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